Case 3:20-cv-01532-RNC Document1 Filed 10/08/20 Page 1 of 17

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

SHARON GOLDSTEIN : CIVIL NO.
Plaintiff
V.
COSTCO WHOLESALE
CORPORATION
Defendant OCTOBER 8, 2020

NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §1336 and 28 U.S.C. §1446, the defendant, Costco
Wholesale Corporation hereby submits this notice of removal of the above lawsuit
filed in the Superior Court of Connecticut for the Judicial District of New Britain at
New Britain with a Return Date of October 20, 2020 to the United States District
Court for the District of Connecticut.

The basis for such removal is diversity jurisdiction pursuant to 28 U.S.C.
§1332 as the plaintiff is a citizen of Connecticut and the defendant is a corporation
with a principal place of business in Issaquah, WA. The State Court Complaint
does not specify the amount of alleged damages other than to allege that such
damages exceed the jurisdictional minimum of the Superior Court of fifteen
thousand dollars. However, while the defendant denies plaintiffs claims of

injuries, plaintiff alleges permanent bodily injuries, the value of which may exceed
Case 3:20-cv-01532-RNC Document1 Filed 10/08/20 Page 2 of 17

$75,000.00. A copy of the Summons and Complaint filed in New Britain Superior

Court is attached hereto as Exhibit “A”.
Costco Wholesale Corporation has, as of this date, notified the Connecticut
Superior Court of the filing of this Notice of Removal. A copy of the Notice of

Removal filed in the Connecticut Superior Court (without exhibit) is attached

hereto as Exhibit “B’.
Pursuant to the Standing Order on removed cases, a Statement of

Removed Case and a Notice of Pending Motions are being filed simultaneously

herewith.

Finally, the defendant submits the Civil Cover Sheet attached hereto as
Exhibit “C”.

THE DEFENDANT,
COSTCO WHOLESALE CORPORATION

/s/ Miles Esty
Miles Esty, Esq.
Esty & Buckmir, LLC
2340 Whitney Avenue
Hamden, CT 06518
Tel: (203) 248-5678
Fax: (203) 288-9974
E-Mail: mesty@estyandbuckmir.com
Fed Bar No. CT#: 08867
Case 3:20-cv-01532-RNC Document1 Filed 10/08/20 Page 3 of 17

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

SHARON GOLDSTEIN CIVIL NO.
Plaintiff
V.
COSTCO WHOLESALE
CORPORATION
Defendant OCTOBER 8, 2020
CERTIFICATE OF SERVICE

 

| hereby certify that on October 8, 2020 a copy of the defendant’s Notice of
Removal was filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent by e-mail to all parties by operation
of the Court’s electronic filing system or by mail to anyone unable to accept
electronic filing as indicated on the Notice of Electronic Filing. Parties may access
this filing through the Court’s CM/ECF System.

THE DEFENDANT,
COSTCO WHOLESALE CORPORATION

/s/ Miles Esty
Miles Esty, Esq.
Esty & Buckmir, LLC
2340 Whitney Avenue
Hamden, CT 06518
Tel: (203) 248-5678
Fax: (203) 288-9974
E-Mail: mesty@estyandbuckmir.com
Fed Bar No. CT#: 08867
Case 3:20-cv-01532-RNC Document1 Filed 10/08/20 Page 4 of 17

EXHIBIT A
Case 3:20-cv-01532-RNC Document1 Filed 10/08/20 Page 5 of 17

 

SUMMONS - CIVIL For information on STATE OF CONNECTICUT
JD-CV-1 Rav. 3-20 ADA accommodations, SUPERIOR COURT
C.G:3 §§ 54-346, 54-347, 51-349, 51-390, §2-45a 62-49, 52-259: contact a court clerk or waw.jud.ct gov
PB, §§ 3-1 through 3-21, 81, 10-13 go to: www.jud.ct.gov/ADA. :

 

 

 

Instructions are on page 2.

{x Select if:amount, legal interest, or property in demand, not including interest and costs, is $2,500 or MORE.

{"] Select if claiming other relief ini addition te, or in place of, maney or damages

TO: Any proper officer
By authority of the State of Connecticut, you are hereby commanded to make due and legal service of this summons and attached complaint.

 

 

 

 

Address of court clerk (Number, sireet, fown and zip code) Telephone number of clers Return Dale (Must be a Tuesday)
20 Franklin Square, New Britain, CT 06051 (860) 515-5080 10/20/2020

[x] Judicial District GA. ~ TAt(Elyfown} oO — Case type code (See list on page 2)

[| Housing Session [] Number: | New Britain Major: T Minor: 44

 

 

For the plaintiff(s) enter the appéarance of:

“Wamie and address of attamay, law firm ar plaintiff set-represented (Number, sireel. lawn and zip coda) | Juris umber (if atiamey orlaefirem)
Billings, Barrett & Bowman, LLC - 3651 Main Street, Suite 200, Stratford, CT 06614 433193
Telephone number | Signature of plaintiff (if sel-represanted)
(203) 562-0900 |

The attorney or law firm appearing for the plaintiff, or the plaintiff if E-mail acdress for delivery of papers uncer Section 10-13 of the
self-represented, agrees to accept papers (service) electronically Conieclicut Fraction iOK (agree
in this case under Section 10-13 of the Connecticut Practice Book, [%] Yes [| No | filing@bbbattorneys.com

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Parties Name (Last, First, Middle Initial) and address of each party (Number; street; P.O. Box; town; state; zip; country, if not USA)

First ‘Name: Goldstein; Sharon P-04

plaintiff | Addross: 423 Hemlock Road, Fairfield, CT 06824
Additional | Name: P.02
| __ Plaintiff Address:

First Name: Costco Wholesale Corporation bo
defendant | Address: Agent For Service: C T Corporation System, 67 Burnside Avenue, Hartford, CT 06108: _
Additional | Name:
defendant | Address: OF
Additional | Name:

_ defendant Address: / , si
Agaidonel tiene i ee re Ee tt,
defendant | Address: ee os DA
Total number of plaintiffs: 4 | Total number of defendants: 4 | [| Form JO-CV-2 attached for additional parties

 

 

 

Notice to each defendant

1. You are being sued, This is a summons in a lawsuit. The complaint attached states the claims the plaintiff is making against you.

2. To receive further notices, you ar your attarney must file an Appearance (form: JD-CL-12) with the clerk at the address above. Generally,
it must be filed:of or before the second day after the Return Date. The Return Date is not a hearing date. You do not have:to come to
court on the Returm Date uniess you receive a separate notice telling you to appear

3. If you or your attorney do not file an Appearance on time, a default Judgment may be entered against you. You can get an Appearance
form at the court address above, or on-line at httes://jud.ct.govlwebforms/.

4, IF you believe that you have insurance that may cover the claim being made against you in this lawsuit, you should immediately contact
your insurance representative. Other actions you may take are described in the Connecticut Practice Book, which may be found ina
superior court /aw library or on-line at https:/Avww jud.ct.cov/pb. him

5. If you have questions about the summons and compiaint, you should talk to-an attorney.
The court staff is not allowed to give advice on legal matters.

pn, lee ann < a"
Dale Signed (S/Gn and select proser box) [=] Commissioner of Supenor Court. | Name of persen signing
4 | lo | 2029 : \ C fa Clek | Erandi Reiland

{f this summons is signed by a Clerk: For Court Use Only

a. The signing has been done so that the plaintiff(s) will not be denied access to the courts. Pig, ate

b. Itis the responsibility of the plamntiff(s) to ensure that service is made in the manner provided by law,

c. The cour staff is not permitted to give any tegai advice in connection with any lawsuit.

d. The Clerk signing this summons.at the request of the plaintiffs) is not responsible in any way for any
errors or omissions in the summons, any allegations contained in the complaint, or the service of the
summons or complaint,

7 certify | have read and | Signed (Suifrepresented piaintff) = — | Date Gockel Number
understand the above:

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

Page 1 of2 —
BILLINGS, BARRETT
& BOWMAN, LLC

3651 MAIN STREET
SUITE 200
STRATFORD, CT
06614

970 FARMINGTON AVE,
SUITE 304

WEST HARTFORD, CT
06107

0 203 $42 0900
F 203 562 0902
BBBATTORNEYS.COM

Case 3:20-cv-01532-RNC Document 1 Filed 10/08/20 Page 6 of 17

RETURN DATE: OCTOBER 20, 2020 SUPERIOR COURT

SHARON GOLDSTEIN J.D. OF NEW BRITAIN
VS. : AT NEW BRITAIN

COSTCO WHOLESALE CORPORATION SEPTEMBER 10, 2020

 

 

COMPLAINT

. At all times relevant hereto, the plaintiff Sharon Goldstein was a resident of

Fairfield, Connecticut.

. Atalltimes relevant hereto, the defendant, Costco Wholesale Corporation, was a

corporation organized under the laws of the State of Washington, authorized to

do business in the State of Connecticut.

. Atall times relevant hereto, the Defendant owned, possessed and/or controlled

the property known as Costco Wholesale Store located at 405 Hartford Road, New

Britain, Connecticut (“the Premises”).

. At all times relevant hereto, the Defendant was responsible for the maintenance

and inspection of the Premises, including but not limited to, all walkways, parking

aredgand sidewalks, in order to maintain the Premises in a reasonably safe

XS st

condition Faxbusiness invitees and other persons lawfully there on, including the

plaintiff.

 
BILLINGS, BARRETT.
‘& BOWMAN, LLC

3651 MAIN STREET
SUITE 200
STRATFORD, CT
06614

970 FARMINGTON AVE,
SUITE 304

WEST HARTFORD, CT
06107

0 203 5620900
F 203562 0902
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Case 3:20-cv-01532-RNC Document1 Filed 10/08/20 Page 7 of 17

5. Prior to March 6, 2019, precipitation in the form of snow and/or ice had fallen in
New Britain, Connecticut, including the location of the Premises, with all
precipitation stopping on or before March 4, 2019.

6. On March 6, 2019, at approximately 10:00 a.m., the plaintiff, Sharing Goldstein,
was a business invitee on the Premises, with the intent of shopping at said store.

7. On said date and time, the plaintiff arrived on the Premises and parked her vehicle
in the parking lot.

8. On said date and time, the plaintiff began to exit her vehicle and was caused to
slip and fall on black ice which was there and then existing, thereby sustaining the
injuries and damages hereinafter set forth.

9. The plaintiff's fall and the resulting injuries, losses and damages, were caused by
the negligence and carelessness of the defendant in one or more of the following
ways, in that the defendant:

a. failed to have snow and/or ice removed the parking lot area of the
Premises, despite the fact that it knew, or should have known, that snow
and ice had accumulated in that area, creating a danger for pedestrians,
including the plaintiff;

b. violated ASTM Designation F1637-19, Standard Practice for Safe Walking
Surfaces, including but not limited to taking all appropriate measures to
render the walking surfaces on the Premises slip resistant, when it knew
or should have known, that we and icy environmental conditions were
foreseeable;

c. allowed its representatives, agents, contractors, servants and/or
employees to leave snow and/or ice on the parking lot and the surrounding
areas that, when melting, would result in water run off which would then

refreeze, creating hazardous conditions for pedestrians, including the
plaintiff;

 

 

 
BILLINGS, BARRETT
& BOWMAN, LLC

3651 MAIN STREET
SUITE 200
STRATFORD, CT
06614

970 FARMINGTON AVE,
SUITE 304

WEST HARTFORD, CT
~ 06107

0 203 562 0900
F 203562 0902
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Case 3:20-cv-01532-RNC Document1 Filed 10/08/20 Page 8 of 17

d. knew or in the exercise of reasonable care should have known, that the
snow and/or ice conditions on the parking lot, walkways, and surrounding
areas had existed for a substantial period of time, posing a danger to
pedestrians, and yet failed to remedy and correct the same;

e, failed to give the plaintiff any warning of said dangerous condition
although it knew or in the exercise of reasonable care should have known,
that the area where the plaintiff fell was dangerous and hazardous to
persons walking on it by reason of an accumulation of snow and/or ice;

f. failed to adequately inspect said area to ascertain and remedy the
dangerous condition therein;

g. failed to discover or remedy the dangerous condition of the walkways,
parking areas, and sidewalks, including the area where the plaintiff fell
when it knew, or should have known, of its existence;

h. failed to salt and/or sand and or provide another appropriate preventative
substance to the ground, including the snow and/or ice, so as to render it
safe and passable;

i. failed to order and/or cause salt and/or sand and/or another appropriate
preventative substance to the ground, including the snow and/or ice, so as
to render it safe and passable;

j. failed to property and adequately clear and/or remove snow and/or ice
from the parking lot and surrounding areas so that pedestrians, including
the plaintiff, could safely access the store;

k. failed to respond adequately and promptly after an accumulation of snow
and/or ice on the walkways, parking, and surrounding areas to prevent

injury to pedestrians, including the plaintiff;

|. failed to place cones, barriers, barricades, signs or other devices in the area
where the plaintiff fell to warn of the presence of snow and/or ice;

m. failed to retain experienced snow and/or ice removal contractors to
walkways, parking, and surrounding areas;

n. failed to alert snow removal contractors to perform prompt and adequate
‘ snow and/or ice removal after a storm;

 

 

perform prompt and adequate: snow and/or ice removal from: the =. =):

 
BILLINGS, BARRETT
& BOWMAN, LLC

3651 MAIN STREET
SUITE 200
STRATFORD, CT
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SUITE 304
- WESTHARTFORD, CT
: 06107

0 203562 0900
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Case 3:20-cv-01532-RNC Document 1 Filed 10/08/20 Page 9 of 17

o. failed to supervise and/or property supervise the snow removal
contractors and/or workers it retained, if any, to ensure that they cleared
the walkways, parking, and surrounding areas of snow and/or ice;

p. failed to verbally warn pedestrians of the unsafe condition of the
walkways, parking, and surrounding areas due to snow and/or ice
accumulation, and;

q. failed to provide a safe and reasonable route of access for pedestrians,
including the plaintiff, to reach the front door of the store.

10. As a direct and proximate result of the incident and the negligence of the
defendant, the plaintiff sustained injuries to her entire body, including but not
limited to:

a. Intra-articular distal radial fracture on her left wrist;

b. Weakness and inability to use her left hand;

c. Radiating pain into left shoulder and forearm.

11. To treat these injuries and conditions, the plaintiff required physician care, x-rays,
orthopedic care, and occupational therapy. She also required various medications
for her pain and discomfort. It is likely that the plaintiff's injuries are permanent
in nature and will be the source of continuing pain and disability. In addition, she
suffered, and will in the future continue to suffer, great physical and mental pain,
including fear of future disability, and has been and will in the future be unable to
participate in many of the activities in which she engaged prior to said accident.
She will require future medical treatment.

12. By further reason of the negligence and carelessness of the defendant as

aforesaid, the plaintiff was required to spend substantial sums of money for the

 

 
 

BILLINGS, BARRETT
& BOWMAN, LLC

3651 MAIN STREET:

SUITE 200

:° STRATFORD, CT:

06614

970 FARMINGTON AVE,
SUITE 304

WEST HARTFORD, CT
06107

‘0 203 562 0900

F 203 562 0902:

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pase 3:20-cv-01532-RNC Document1 Filed 10/08/20 Page 10 of 17

medical care due to these injuries and damages and will be required to do so.in

the future.

 

 

 
BILLINGS, BARRETT
& BOWMAN, LLC

3651 MAIN STREET
SUITE 200
STRATFORD, CT
06614

970 FARMINGTON AVE.
SUITE 304

WEST HARTFORD, CT
06107

0 203 562.0900
F 203562 0902
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(ase 3:20-cv-01532-RNC Document 1 Filed 10/08/20 Page 11 of 17

WHEREFORE, the plaintiffs claim:
ee Fair, just and reasonable damages;
2. Monetary relief;

3f Costs; and

Respectfully submitted,
THE PLAINTIFF

ERANBLREILAND, ESQ,

PETER BILLINGS, ESQ.

STRATFORD, CT 06614

F: (203). 562-0902
E: FILING@BBBATTORNEYS:COM
FIRM JURIS: 433193.

  
     

 

 

 
BILLINGS, BARRETT
& BOWMAN, LLC

3657 MAIN STREET
SUITE 200
STRATFORD, CT
06614

970 FARMINGTON AVE.
SUITE 304

WEST HARTFORD, CT
06107

0 203 562 0900
F 203 562 0902
BBBATTORNEYS.COM

(ase 3:20-cv-01532-RNC Document1 Filed 10/08/20 Page 12 of 17

RETURN DATE: OCTOBER 20, 2020 : SUPERIOR COURT
SHARON GOLDSTEIN ; J.D. OF NEW BRITAIN
VS. : AT NEW BRITAIN
COSTCO WHOLESALE CORPORATION : SEPTEMBER 10, 2020

STATEMENT OF AMOUNT IN DEMAND
Amount, legal interests and property in demand, exclusive of interest and

costs, is Fifteen Thousand and 00/100 Dollars ($15,000.00):or more:

 

THE PLAINTIFF
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( 4
BY on se x |
CS y =o

Erandi Reiland
Peter Billings
Billings, Barrett & Bowman, LLC

 

 

 
Case 3:20-cv-01532-RNC Document 1 Filed 10/08/20 Page 13 of 17

EXHIBIT B
Juris No. 415435

2340 Whimey Avenue
Hamden, Connecticut 06518

Tel. (203) 248-5678

ESTY & BUCKMIR, LLC

 

 

Case 3:20-cv-01532-RNC Document 1 Filed 10/08/20 Page 14 of 17

DOCKET NO. HHB-CV20-6061978-S : SUPERIOR COURT
SHARON GOLDSTEIN : J.D. OF NEW BRITAIN
VS. AT NEW BRITAIN
COSTCO WHOLESALE CORPORATION OCTOBER 8, 2020

NOTICE OF REMOVAL
The defendant, Costco Wholesale Corporation hereby gives notice that it
has removed this action to Federal Court. A copy of said removal (without

exhibits) is attached hereto as Exhibit “A”.

THE DEFENDANT,
COSTCO WHOLESALE CORPORATION

__/s/400462
Miles N. Esty, Esq.
Esty & Buckmir, LLC
2340 Whitney Avenue
Hamden, CT 06518
Tel. No. 203-248-5678
Juris No. 415435

 

 
Juris No. 415435

Hamden, Connecticut 06518

Tel. (203) 248-5678

ESTY & BUCKMIR, LLC
2340 Whitney Avenue

 

 

Case 3:20-cv-01532-RNC Document 1 Filed 10/08/20 Page 15 of 17

CERTIFICATE OF SERVICE

| certify that a copy of the above was or will immediately be mailed or
delivered electronically or non-electronically on this date to all counsel and self-
represented parties of record and that written consent for electronic delivery was
received from all counsel and self-represented parties of record who were or will
immediately be electronically served:

BBB Attorneys, LLC
3651 Main Street, Suite 200
Stratford, CT 06614

/s/400462
Miles N. Esty, Esq.
Commissioner of the Superior Court

 

 
Case 3:20-cv-01532-RNC Document 1 Filed 10/08/20 Page 16 of 17

EXHIBIT C
Case 3:20-cv-01532-RNC Document 1 Filed 10/08/20 Page 17 of 17
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

JS 44 (Rev. 06/17)

I. (a) PLAINTIFFS

Sharon Goldstein

(b) County of Residence of First Listed Plaintiff

Fairfield

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (irm Name, Address, and Telephone Number)

Erandi Reiland, Esq., Billings, Barrett & Bowman, LLC, 3651 Main Street,

Suite 200, Stratford, CT 06614, 203-562-0900

DEFENDANTS

Costco Wholesale Corporation

County of Residence of First Listed Defendant _
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED

NOTE:

Attorneys (if Known)
Miles Esty, Esq., Esty & Buckmir, LLC, 2340 Whitney Avenue,
Hamden, CT 06518, 203-248-5678

 

 

IL BASIS OF JURISDICTION (Place an "'X" in One Box Only)

O 1 US. Government

Plaintiff

0 2. U.S. Government
Defendant

O 3. Federal Question

(U.S. Government Not a Party}

A4 Diversity

(Indicate Citizenship of Parties in Litem IL)

 

IV. NATURE OF SUIT (Place an “Xin One Box Only)

Il. CITIZENSHIP OF PRINCIPAL PARTIES (Ptace an “x" in One Box for Plaintiff

(for Diversity Cases Only) and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State X1 O 1 Incorporated or Principal Place o4 04
of Business In This State
Citizen of Another State O 2 © 2 Incorporated and Principal Place os &s
of Business In Another State
Citizen or Subject of a O3 O 3. Foreign Nation qgo6 O86

Foreign Country

 

 

 

 

 

CO 230 Rent Lease & Ejectment
1 240 Torts to Land

& 245 Tort Product Liability
© 290 All Other Real Property

 

©) 442 Employment

O) 443 Housinp/
Accommodations

0 445 Amer. w/Disabilities -
Employment

1 446 Amer, w/Disabilities -
Other

0 448 Education

 

(1 510 Motions to Vacate
Sentence

1 530 General

1 535 Death Penalty

Other:

1 540 Mandamus & Other

0 550 Civil Rights

0 555 Prison Condition

O 560 Civil Detainee -
Conditions of
Confinement

 

IMMIGRATION

 

 

QO) 465 Other [mmigration
Actions

 

C1 462 Naturalization Application

 

O 871 IRS—Third Party
26 USC 7609

Click here for: Nature of Suit Code Descriptions.
[ CONTRACT TORTS FORFEUREPENALT [BANKRUPTCY | OTHER STATUTES]
0 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure C1 422 Appeal 28 USC 158 0 375 False Claims Act
0 120 Marine 0 310 Airplane OF 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal © 376 Qui Tam (31 USC
0 130 Miller Act 0 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
0 140 Negotiable Instrument Liability 0 367 Health Care/ 0 400 State Reapportionment
0 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical 0 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights © 430 Banks and Banking
© 151 Medicare Act ©) 330 Federal Employers’ Product Liability C1 830 Patent 1 450 Commerce
1 152 Recovery of Defaulted Liability 1 368 Asbestos Personal C1 835 Patent - Abbreviated 460 Deportation
Student Loans 1 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) 0) 345 Marine Product Liability 1 840 Trademark Corrupt Organizations
153 Recovery of Overpayment Liability PERSONAL PROPERTY 4 i E OC 480 Consumer Credit
of Veteran’s Benefits 1 350 Motor Vehicle 0 370 Other Fraud 0 710 Fair Labor Standards 1 861 HIA (1395ff) ©) 490 Cable/Sat TV
0 160 Stockholders’ Suits C1 355 Motor Vehicle O 371 Truth in Lending Act C1 862 Black Lung (923) 1 850 Securities/Commodities/
0) 190 Other Contract Product Liability OC 380 Other Personal 1 720 Labor/Management 0 863 DIWC/DIWW (405(g)) Exchange
01 195 Contract Product Liability | 360 Other Personal Property Damage Relations 0 864 SSID Title XVI 1 890 Other Statutory Actions
0 196 Franchise Injury 0 385 Property Damage 1 740 Railway Labor Act 0 865 RSI (405(g)) 0 891 Agricultural Acts
© 362 Personal Injury - Product Liability 0 751 Family and Medical 1 893 Environmental Matters
Medical Malpractice Leave Act (1 895 Freedom of Information
l REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |0 790 Other Labor Litigation FEDERAL TAX SUITS Act
© 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: 1 79! Employee Retirement 1 870 Taxes (U.S, Plaintiff 0 896 Arbitration
© 220 Foreclosure O 44! Voting O 463 Alien Detainee Income Security Act or Defendant) 0 899 Administrative Procedure

Act/Review or Appeal of
Agency Decision

C1 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Place an "X" in One Box Only)

O1 Original $K2 Removed from 3  Remanded from 0 4 Reinstated or © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

28 U.S.C. §1332

Cite the U.S, Civil Statute under which you are filing (De not cite jurisdictional statutes untess diversity):

 

 

Brief description of cause:
Alleged premises liability resulting in alleged personal injury

 

VII. REQUESTED IN

COMPLAINT:

(1 CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R,Cv.P

VIII. RELATED CASE(S)

DEMAND $

CHECK YES only if demanded in complaint:

JURY DEMAND:

 

Si Yes  ONo

 

IF ANY (See instructions}? Gp DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
10/08/2020 /s/ Miles N. Esty

 

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

JUDGE

MAG, JUDGE
